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                  Exhibit B
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1. County of
           of Nassau v. Purdue Pharma, L.P., et al.
                                                al.,, Index No. 400008/2017, filed
   10/10/2017, New York Supreme Court, Suffolk County

2. County of
           of Niagara v. Purdue Pharma, L.P., et al.
                                                 al.,, Index No. E162958/2017, filed
   10/10/2017, New York Supreme Court, Niagara County

3. The County of
               of Chautauqua v. Purdue Pharma L.P., et al., Index No. K1-2018-57, filed
   01/12/2018, New York Supreme Court, Chautauqua County

4.   County of
            of Clinton v. Purdue Pharma L.P., et aL
                                                 al.,, Index No. 2018-52, filed 01/12/2018,
     New York Supreme Court, Clinton County

5. County of
           of Genesee v. Purdue Pharma L.P., et al.
                                                al.,, Index No. 66388/2018, filed
   02/21/2018, New York Supreme Court, Genesee County

6. County of
           of Hamilton v. Purdue Pharma L.P., et al.
                                                 al.,, Index No. 2018-7399, filed
   02/26/2018, New York Supreme Court, Hamilton County

7. County of
           of Livingston v. Purdue Pharma L.P., et al.
                                                   al.,, Index No. 00240-2018, filed
   03/15/2018, New York Supreme Court, Livingston County

8. County of
           of Madison v. Purdue Pharma L.P., et aL
                                                al.,, Index No. 2018-1046, filed
   01/12/2018, New York Supreme Court, Madison County

9. County of
          of Saratoga v. Purdue Pharma L.P., et al.
                                                al.,, Index No. 2018-135, filed 01/17/2018,
   New York Supreme Court, Saratoga County

10. County of
            of Steuben v. Purdue Pharma L.P., et al.
                                                 al.,, Index No. E2018-0209CV, filed
    02/21/2018, New York Supreme Court, Steuben County

11. County of
            of Schenectady v. Purdue Pharma L.P., et al.
                                                     al.,, Index No. 2017-1209, filed
    07/31/2017, New York Supreme Court, Schenectady County

12. County of
            of Nassau v. Purdue Pharma L.P., et al., Index No. 605477/2017, filed
    07/31/2017, Supreme Court of New York, Nassau County

13. County of
           of Sullivan v. Purdue Pharma L.P., et al.
                                                 al.,, Index No. 2017/961, filed 07/31/2017,
    Supreme Court of New York, Sullivan County

14. County of
           of Seneca v. Purdue Pharma L.P., et al.
                                               al.,, Index No. 51181/2017, filed 07/31/2017,
    New York Supreme Court, Seneca County

15. County of
            of Dutchess v. Purdue Pharma L.P., et al.
                                                  al.,, Index No. 2017-51340, filed
    07/31/2017, New York Supreme Court, Dutchess County
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16. County of
            of Orange v. Purdue Pharma L.P., et al.
                                                al.,, Index No. EF003572-2017, filed
    07/31/2017, New York Supreme Court, Orange County

17. County of
           of Erie v. Purdue Pharma L.P., et al.
                                             al.,, Index No. 801671/2017, filed 07/31/2017,
    New York Supreme Court, Erie County

18. County of
            of Broome v. Purdue Pharma L.P., et al.
                                                al.,, Index No. EFCA2017000252, filed
    07/31/2017, New York Supreme Court, Broome County

19. County of
            of Suffolk v. Purdue Pharma L.P., et al.
                                                 al.,, Index No. 613760/2016, filed
    08/31/2016, New York Supreme Court, Suffolk County

20. Town of
          of Amherst v. Purdue Pharma L.P., et al.
                                               al.,, Index No. 803887/2018, filed
    03/13/2018, New York Supreme Court, Erie County

21. Town of
          of Cheektowaga v. Purdue Pharma L.P., et al.
                                                   al.,, Index No. 806151/2018, filed 04-
    18-2018, New York Supreme Court, Erie County

22. County of
            of Warren
               Warren v. Purdue Pharma L.P., et al.
                                                al.,, Index No. 2018/64959, filed
    02/07/2018, New York Supreme Court, Warren County

23. County of
            of Putnam v. Purdue Pharma L.P., et al.
                                                al.,, Index No. 500511/2018, filed
    05/29/2018, New York Supreme Court, Putnam County

24. County of
           of Schuyler v. Purdue Pharma L.P., et al.
                                                 al.,, Index No. 18-91, filed 05/11/2018,
    New York Supreme Court, Schuyler County

25. County of
           of Franklin v. Purdue Pharma L.P., et al.
                                                 al.,, Index No. 2018/317, filed 04/24/2018,
    New York Supreme Court, Franklin County

26. Town of
          of Lancaster v. Purdue Pharma L.P., et al.
                                                 al.,, Index No. 809160/2018, filed
    06/13/2018, New York Supreme Court, Erie County

27. County of
           of Cayuga v. Purdue Pharma L.P., et al.
                                               al.,, Index No. 2018-603, filed 06/08/2018,
    New York Supreme Court, Cayuga County

28. County of
           of Otsego v. Purdue Pharma L.P., et al., Index No. TBD, filed 08/01/2018, New
    York Supreme Court, Otsego County

29. County of
            of Cattaraugus v. Purdue Pharma L.P.
                                            L.P.et  al.,, Index No. 87139/2018, filed
                                                 et aL
    08/09/2018, New York Supreme Court, Cattaruagus County

30. County ofof Albany, NY
                        NY v. Cardinal Health, Inc. et al., Civil Action No. 1:19-cv-00273,
    filed 2/27/2019, U.S.D.C. for the Northern District of New York, transferred on
    3/25/2019 to U.S.D.C. for the Northern District of Ohio as Case No.1No.1:19-op-45159
                                                                             :19-op-45159
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   31. The People of
                  of the State of
                               of New York, by Letitia James, Attorney General of
                                                                               of the State
      of New York v. Purdue Pharma L.P., Index No. 400016/2018 pending in the Supreme
      of
      Court of the State of New York, Suffolk County


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